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9    Attorneys for Plaintiffs
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11                                    UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13
     VOTING RIGHTS DEFENSE PROJECT, et               Case No. C-16-02739-WHA
14   al.,
15                                                   EX PARTE MOTION FOR ORDER
                        Plaintiffs,                  SHORTENING TIME FOR SETTING OF
16                                                   HEARING ON APPLICATION FOR
            v.                                       PRELIMINARY INJUNCTION
17
     ALEX PADILLA, et al.,                           Date: May 27, 2016
18

19                      Defendants.

20

21          Plaintiffs apply to the court ex parte for an order shortening time for the setting of a
22   hearing on plaintiffs’ application for a preliminary injunction. This ex parte application is
23   based upon the following facts:
24          1. The subject matter of the underlying application for a preliminary injunction
25               (submitted to the Court with this ex parte motion) concerns the California
26               Democratic Party primary election to occur on June 7, 2016;
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28
     EX PART APP. ORDR SHORTENING TIME                                    1
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1            2. Because of the nature of the remedies sought by the preliminary injunction
2                applied for by the plaintiffs, to alleviate and mitigate the immediate and
3                irreparable harm presently being caused by the dissemination of incorrect,
4                misleading and incomplete information by the defendants to California voters
5                who designated “no party preference” on their voter registrations and who wish
6                to exercise their right to vote in the 2016 Democratic Party presidential
7                primary,1 plaintiffs’ application for a preliminary injunction must be heard and
8                adjudicated by the court at the earliest possible time. Plaintiffs therefore request
9                a hearing on their application for a preliminary injunction be held Wednesday,
10               June 1, 2016, or the soonest date before June 7 that is possible for the court.
11               Plaintiffs have been informed that June 3 is impossible for the counsel of the
12               Secretary of State. Plaintiffs have acted expeditiously in gathering their evidence
13               since this issue was brought to their attention two weeks ago, giving the counties
14               notice and not filing against San Mateo County when action was taken to correct
15               ongoing errors in posting of the procedure of the application to vote by mail.
16           3. Notice of this ex parte application was provided to counsel for all defendants on
17               May 26, 2016 by William M. Simpich, counsel for plaintiffs.
18                                                   Respectfully submitted,
19                                                   WILLIAM M. SIMPICH
                                                     STEPHEN R. JAFFE
20
                                                     By:_    /s/                         ___________
21                                                   Counsel for Plaintiffs
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27            The facts setting forth the immediate and irreparable harm to plaintiffs and affected
     California voters are set forth in the declarations filed in support of plaintiffs’ application for a
28   preliminary injunction.
     EX PART APP. ORDR SHORTENING TIME                                          2
          Case 3:16-cv-02739-WHA Document 13 Filed 05/27/16 Page 3 of 4



1                                                 ORDER
2
            The foregoing ex parte application for an order shortening time for the setting of a
3
     hearing on plaintiffs’ application for a preliminary injunction having been submitted by the
4
     plaintiffs, and good cause appearing therefor,
5
            IT IS ORDERED that plaintiffs’ application for a preliminary injunction shall be
6
     heard on __________________________, at the ___________AM/PM.
7
            IT IS FURTHER ORDERED that plaintiffs are ordered to serve the Order to Show
8
     Cause issued by the Court this date, the application for a preliminary injunction and all
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     papers filed in support thereof, on all defendants no later than May 27, 2016. Personal
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     service or electronic service on counsel for defendants is authorized by the Court.
11

12
     Dated: ____________________________
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                                           _________________________________________________________
17                                         JUDGE OF THE UNITED STATES DISTRICT COURT
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     EX PART APP. ORDR SHORTENING TIME                                        3
     Case 3:16-cv-02739-WHA Document 13 Filed 05/27/16 Page 4 of 4



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